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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
______________________________________________
                                              )
UNITED STATES OF AMERICA                      )
                                              )
                    Plaintiff,                )
v.                                            ) Civil Action No. 04-798 (PLF/GMH)
                                              )
ALL ASSETS HELD AT BANK JULIUS BAER & )
CO., LTD., GUERNSEY BRANCH, ACCOUNT           )
NUMBER 121128, IN THE NAME OF PAVLO           )
LAZARENKO, ET AL.                             )
                                              )
                    Defendants In Rem.        )
______________________________________________)

                                         SCHEDULING ORDER

         As discussed at the status conference today, the government filed a redacted brief regarding the so-

called “CIPA File” on September 20, 2019 (ECF No. 1219-2). It is hereby

         ORDERED that any response to the government’s submission from Claimant Pavel Lazarenko or

from the so-called A/E/L Claimants, should they choose to respond, is due on or before October 18, 2019.

It is further

         ORDERED that the government shall file its reply on or before November 1, 2019.



         SO ORDERED.
                                                                   Digitally signed by
                                                                   G. Michael Harvey
                                                                   Date: 2019.10.01
Dated: October 1, 2019                            ___________________________________
                                                                   12:14:48 -04'00'
                                                  G. MICHAEL HARVEY
                                                  UNITED STATES MAGISTRATE JUDGE
